/\ Case 1:05-cr-10032-.]DT Document44 Filed 07/21/05- PagelofS Page|D 44

    
  
 

IN THE UNITED STATES DISTRICT CoURT 05
FoR THE WESTERN DISTRICT oF TENNESSEE

EASTERN DIVISION
UNITED sTATES oF AMERICA, )
) 1
Plaintifr, ) Cr. No. 05-1
v. ' ) - `
) 3 §
RoNNIE L. MULLEN, ) cr‘-_"; j
) N s
Defendant. ) "_

 

MOTION TO CONTINUE SE TENCING

 

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COMES NOW, the United States of ca, by and through Terrell L. Harris, United

States Attorney, and R. Leigh Grinalds, sistant United States Attorney for the Western District

ofTennessee, Eastern Division, d Would request the sentencing hearing for defendant Ronnie L.

Mullen set for Septemb 3, 2005, be continued until after the trial of the co-defendant in this case

/

currently set for tober 11, 2005.

The overnment has conferred With Mr. J. Patten Brown, counsel for the defendant, and Mr.

l.

Brow as no objection to this requestl
Respectfu]ly submitted,

TERRELL L. H
U ited St te Att

       

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e,. R r§EIGiI GRS<:'AL‘DS
wl OTEO_ N RAN t E-§ Assistant United States Attorney
DATE: 109 south Highiand, suite 300
Jackson, Tennessee 3830]
(731) 422-6220
(TN Bar # 9178)

   

James D Todd
' S. DrstrrctJudge

Thls document entered on the docket sheet ln oornpflence

with Hute 55 and,!or 32{b) FRCrF on

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CERTIFICATE OF SERVICE
I, R. Leigh Grinalds, Assistant United States Attorney for the Western District of Tennessee,

hereby certify that a copy of the foregoing has been mailed, first class postage prepaid to:

J. Patten Brown, 1]]
Assistant Federal Defende`r
200 Jefferson, Suite 200
Memphis, Tennessee 38103

rhis iq day Of July 2005.

 

Assistant United States Attorney

DISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listedl

 

 

J. Patten BroWn

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Honorablc J ames Todd
US DISTRICT COURT

